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 TELECOMMUNICATIONS AMERICA, LLC


                                 UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

     APPLE INC., a California corporation,      CASE NO. 12-CV-00630-LHK (PSG)

                   Plaintiff,                   SAMSUNG’S NOTICE OF MOTION AND
                                              MOTION FOR SUMMARY JUDGMENT
            vs.
                                              Date: December 12, 2013
   SAMSUNG ELECTRONICS CO., LTD., a             Time: 1:30 p.m.
 Korean business entity; SAMSUNG              Place: Courtroom 8, 4th Floor
   ELECTRONICS AMERICA, INC., a New             Judge: Honorable Lucy H. Koh
 York corporation; SAMSUNG
   TELECOMMUNICATIONS AMERICA,                  REDACTED VERSION OF DOCUMENT
 LLC, a Delaware limited liability company,   SOUGHT TO BE SEALED

                 Defendants.

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                                                              Case No. 12-CV-00630-LHK (PSG)
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 1                              NOTICE OF MOTION AND MOTION
 2          PLEASE TAKE NOTICE that on December 12, 2013, at 1:30 p.m., or as soon as the
 3 matter may be heard by the Honorable Lucy H. Koh in Courtroom 8, United States District Court

 4 for the Northern District of California, Robert F. Peckham Federal Building, 280 South 1st Street,

 5 San Jose, CA 95113, Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and

 6 Samsung Telecommunications America, LLC (collectively “Samsung”) shall and hereby do move

 7 the Court pursuant to Federal Rule of Civil Procedure 56 for summary judgment. This motion is

 8 based on this notice of motion and supporting memorandum of points and authorities; the

 9 Declaration of Michael L. Fazio (“Fazio Decl.”); the Declaration of Jeffrey S. Chase (“Chase

10 Decl.”); and such other written or oral argument as may be presented at or before the time this

11 motion is deemed submitted by the Court.

12                                       RELIEF REQUESTED
13          Pursuant to Federal Rule of Civil Procedure 56, Samsung seeks an order granting summary

14 judgment of: (1) non-infringement of claims 1, 4, 6, 8, and 9 of the ’647 Patent as to the “Accused

15 Jelly Bean Browser Products” running the “Jelly Bean” version of Android; (2) invalidity of

16 claims 11 and 20 of the ’414 Patent; (3) invalidity of claims 24 and 25 of the ’959 Patent; and

17 (4) claim 13 of the ’596 Patent has a priority date of November 9, 2004.

18

19 DATED: October 10, 2013                    QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP
20

21
                                                By /s/ Victoria F. Maroulis
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                                                  Kevin P.B. Johnson
23                                                Victoria F. Maroulis
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25                                                 Attorneys for SAMSUNG ELECTRONICS CO.,
                                                   LTD., SAMSUNG ELECTRONICS AMERICA,
26                                                 INC., and SAMSUNG
                                                   TELECOMMUNICATIONS AMERICA, LLC
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16 claims 11 and 20 of the ’414 Patent; (3) invalidity of claims 24 and 25 of the ’959 Patent; and

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26                                                 INC., and SAMSUNG
                                                   TELECOMMUNICATIONS AMERICA, LLC
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.        INTRODUCTION
 3           Samsung seeks summary judgment on a targeted set of issues concerning non-infringement
 4 of Apple’s ’647 Patent, invalidity of Apple’s ’414 and ’959 Patents, and the priority date for claim

 5 13 of the ’596 Patent. For the reasons set forth below, there is no triable issue of material fact as

 6 to any of these issues and summary adjudication is warranted.

 7 II.       THE ACCUSED “JELLY BEAN” BROWSER PRODUCTS DO NOT INFRINGE
             THE ’647 PATENT
 8
             The Court should grant summary judgment that the “Accused Jelly Bean Browser
 9
     Products” do not infringe the ’647 Patent.1
10
             The Accused Jelly Bean Browser Products use a Browser application that has been
11
     modified since the Preliminary Injunction (“PI”) stage of this case.
12

13

14
                                                                                                  For
15
     instance, the figure below demonstrates (1) the presentation by the Browser application of a web
16
     page to the user; (2) a selection by the user; and (3) the menu of options based on that selection:
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         1
23          Apple and Dr. Mowry identify the Samsung Galaxy S III as the representative product for
     the “Accused Browser Products” running Jelly Bean (Fazio Decl. Ex. 1 (Mowry Opening Report)
24   ¶101 and n.13), including the Samsung Galaxy Nexus, Galaxy Note II, Galaxy Rugby Pro, Galaxy
     S II, Galaxy S II Epic 4G Touch, Galaxy S III, and any other accused device that later updates to
25
     Jelly Bean, including the Galaxy S II Skyrocket and Galaxy Tab 2 10.1 (Fazio Decl. Ex. 2
26   (Mowry Opening Report Ex. 4) at 1, entry 1). Apple maintains that Messenger on these Accused
     Products infringes. (Fazio Decl. Ex. 1 (Mowry Opening Report) ¶ 102 n.15 and ¶ 255. Apple has
27   since dropped the Galaxy Rugby Pro as an accused product pursuant to the Court’s case narrowing
     order. (See Dkt. 471, 786.)
28

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11
        (1) Presentation of web page         (2) Selection                (3) Menu of Options
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14
                                                                        Thus, those products using the
15
     Jelly Bean Browser application do not infringe because they do not “enable the selection of a
16
     detected structure” as required by the ’647 Patent.
17
            A.      The Accused Jelly Bean Browser Products Do Not Enable The Selection of a
18                  Detected Structure

19          Apple asserts independent claim 1 of the ’647 Patent, along with dependent claims 4, 6, 8,

20 and 9. Independent claim 1 is directed to a “computer-based system for detecting structures in

21 data and performing actions on detected structures.” (Fazio Decl. Ex. 3 (’647 Patent) at 7:8-9.)

22 The ’647 Patent explains that “structures” are data that fit a particular pattern, such as a phone

23 number or e-mail address. (Id. at 1:31-33.) The ’647 Patent also explains that “actions” are

24 operations performed on detected data, such as dialing the detected phone number or sending an

25 email to the detected email address. (Id. at Fig. 4.)

26          Claim 1 of the ’647 Patent requires that three types of software “program routines” – an

27 “analyzer server,” a “user interface,” and an “action processor” – perform specific roles in the

28 claimed system. (Id. at 7:16-21.) The program routine of interest here is the “user interface

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 1 enabling the selection of a detected structure and a linked action.”2 (Id. at 7:16-19.) The parties

 2 do not dispute that a user performs the “selection of a detected structure” (as opposed to the

 3 system performing selection). (See Fazio Decl. Ex. 4 (Mowry Dep.) at 154:3-15); see also Fazio

 4 Decl. Ex. 5 (Mowry Reply Decl.) ¶ 217 (“plain and ordinary meaning” of limitation “requires the

 5 user interface to enable selection of a structure, by the user”).)

 6          Apple accuses the Samsung Browser and Messenger applications of infringing each of the

 7 asserted claims of the ’647 Patent. Apple divides its accusations against the Browser into Accused

 8 Devices with the Jelly Bean Browser, and all earlier Browser versions. (Fazio Decl. Ex. 1

 9 (Mowry Opening Report) ¶ 101.) This is because, in the “Jelly Bean” version of Android

10 (introduced in Summer 2012), the system will not detect a “structure” until after a user selects that

11 structure.3 In the words of Apple’s expert for the ’647 patent, Dr. Mowry, in the Jelly Bean

12 Browser

13

14                                                      (See Fazio Decl. Ex. 1 (Mowry Opening

15 Report) ¶ 251; id. ¶ 250                                                                              );

16 id. ¶ 232 (

17                                                          Fazio Decl. Ex. 4 (Mowry Dep.) at 186:23-

18 189:16, 192:2-193:6, 194:16-23.)
19

20                                                                            , the Accused Jelly Bean

21 Browser Products do not infringe claim 1 of the ’647 Patent or any of its dependents because they

22 do not provide a “user interface enabling the selection of a detected structure and a linked action.”

23
        2
          Throughout this summary judgment motion, Samsung uses the claim terms (e.g.,
24 “structure,” “action,” etc.) in the way Apple relies on those terms to allege infringement.
       3
          Samsung introduced its first product with the “Jelly Bean” version of Android on July 23,
25
   2012, after all Preliminary Injunction briefing was completed in the Preliminary Injunction phase
26 of this case. (Fazio Decl. Ex. 6 (Samsung’s Third Supplemental Responses and Objections to
   Apple’s Sixth Set of Interrogatories, No. 41) at 14, entry 24; see also Fazio Decl. Ex. 1 (Mowry
27 Opening Report) ¶ 232 (

28

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 1 (Fazio Decl. Ex. 3 (’647 Patent) at 7:18-19).)

 2                  1.      The parties do not dispute the plain language of claim 1
 3          Claim 1 requires that the system detect structures before the user selects a structure. The
 4 plain language reflects this, and Apple and its expert have taken the position, including in sworn

 5 Declarations submitted to the Court, that “the plain and ordinary meaning of ‘a user interface

 6 enabling the selection of a detected structure’ requires the user interface to enable selection of a

 7 structure, by the user, after the structure has already been detected.” (Fazio Decl. Ex. 5 (Mowry

 8 Reply Decl.) ¶ 217 (emphasis in original); Fazio Decl. Ex. 4 (Mowry Dep.) at 153:12-154:16.)

 9                  2.      The parties also do not dispute the functionality of the accused Jelly
                            Bean Browser products
10
            There is also no dispute regarding how the Accused Jelly Bean Browser Products work.
11

12
                   (See Fazio Decl. Ex. 1 (Mowry Opening Report) ¶¶ 250-251, ¶ 232; Fazio Decl. Ex.
13
     4 (Mowry Dep.) at 186:23-189:16, 192:2-193:6, 194:16-23.)
14

15

16

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18
                                                                                           (Fazio Decl.
19
     Ex. 1 (Mowry Opening Report) ¶ 251.)
20

21

22
                            .4 This change also means the Accused Jelly Bean Browser Products do
23
     not “enable the user to select a detected structure” as required by claim 1.
24
            The Accused Jelly Bean Browser Products cannot infringe because the user identifies the
25

26      4

27

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 1 structure of interest,                                                                    . This is

 2 contrary to claim 1, which requires that a structure must be detected before being selected by a

 3 user. In the words of Apple’s expert Dr. Mowry, “the plain language of claim 1… requires that

 4 the user be able to pick or choose a detected structure after the system identifies such structures

 5 for the user.” (Fazio Decl. Ex. 5 (Mowry Reply Decl.) ¶ 217 (emphasis in original).) The

 6 Accused Jelly Bean Browser products do not work this way.

 7                  3.      Apple’s infringement allegations ignore the plain language of claim 1
 8           Despite the undisputed operation of the Accused Jelly Bean Browser application, Apple’s

 9 expert Dr. Mowry alleges that detection and selection occur at the same time in the Accused Jelly

10 Bean Browser Products (i.e., detection occurs “as the user makes the selection”), and that this is

11 sufficient to satisfy the user interface limitation’s requirement that the user be enabled to “select a

12 detected structure.” (See Fazio Decl. Ex. 1 (Mowry Opening Report) ¶ 251.) For instance, Dr.

13 Mowry states the following in his Opening Report:

14

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     (Id.)
19
             Detection does not occur “as the user makes the selection.” Both parties agree: the user
20
     performs selection, and a
21

22
                                                                      . This is hardly detection “as the
23
     user makes the selection.”
24
                                                                                        . (See Fazio
25
     Decl. Ex. 4 (Mowry Dep.) at 186:23-189:16, 192:2-193:6, 194:16-23.)
26
             More importantly, what the Jelly Bean Browser does is certainly not detection before
27
     selection: even if Apple’s contention were correct, detecting a structure as the user makes the
28

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 1 selection of it is contrary to the plain language of the claim, which unambiguously requires that

 2 the user can select a “detected structure,” not a structure that the system is in the process of

 3 detecting. And Apple’s contention is contrary to Apple’s multiple representations to the Court

 4 throughout the Preliminary Injunction phase of the case, where Apple distinguished both the

 5 Sidekick and Pandit prior art references by arguing that “[t]he plain and ordinary meaning of ‘a

 6 user interface enabling the selection of a detected structure’ requires the user interface to enable

 7 selection of a structure, by the user, after the structure has already been detected.” (Fazio Decl.

 8 Ex. 5 (Mowry Reply Decl.) ¶¶ 26, 217 (emphasis in original).) Apple referred to this as a

 9 “material” and “critical” difference. (Id. at ¶ 26.) In considering non-infringing alternatives and

10 changes to its products, Samsung should be able to rely on Apple and Dr. Mowry’s representations

11 to the Court about the scope of the ’647 Patent.

12          Accordingly, because the Accused Jelly Bean Browser Products do not provide “a user

13 interface enabling the selection of a detected structure,” the Court should grant Samsung summary

14 judgment on non-infringement of claim 1 (and all dependent claims asserted).

15          B.      The Accused Jelly Bean Browser Products Do Not Enable the Selection of a
                    Detected Structure From a Set of Detected Structures
16
            The Court should also grant summary judgment of non-infringement for the Jelly Bean
17
     Browser on a separate ground—that application does not allow a user to select a detected
18
     “structure” from a set of detected “structures.” During the PI phase of this case, Apple and Dr.
19
     Mowry represented to the Court that “selection of a detected structure, as written in the claim
20
     limitation, necessarily requires that a particular detected structure can be chosen from a set of
21
     detected structures.” (Fazio Decl. Ex. 5 (Mowry Reply Decl.) ¶ 140 (“At no point does Sidekick
22
     allow a user to select from a multitude of detected structures.”); see also id. ¶ 213 (“The plain and
23
     ordinary meaning of ‘structures’ in claim 1 requires the analyzer server to be capable of detecting
24
     more than one structure in the data.”).) Even if Apple were somehow right that the products allow
25
     selection of a “detected structure,” the Accused Jelly Bean Browser never allows a user to choose
26
     from “a set of detected structures” because, at most, only one structure is ever “detected” at a time.
27

28

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 1                  1.      Apple narrowly interpreted the “user interface” limitation during the
                            PI phase to avoid the prior art
 2
            During the PI phase, Apple and Dr. Mowry interpreted the “user interface” limitation in a
 3
     narrow and specific way to overcome prior art offered by Samsung. As one example, for the
 4
     Sidekick prior art system, which detects phone numbers and enables a user to select a particular
 5
     phone number for dialing, Apple and Dr. Mowry argued to the Court that the Sidekick system
 6
     “does not itself perform any detection” because “unlike the ’647 Patent, the Sidekick system
 7
     requires user prompts to select a single piece of data,” and thus “[a]t no point does Sidekick allow
 8
     a user to select from a multitude of detected structures.” (Id. ¶ 141 (“This, again, is contrary to the
 9
     teachings of the ’647 Patent, in which multiple structures are detected, after which a user can
10
     choose any one on which to perform an operation via the user interface.”).)
11
            Similarly, Apple and Dr. Mowry argued that another prior art reference, U.S. Patent No.
12
     5,859,636 (“Pandit”), did not anticipate claim 1 of the ’647 Patent:
13
            “Pandit also does not disclose ‘detecting structures’ within the meaning of
14          the ’647 Patent claims because the apparatus in Pandit operates on only a
15          single piece of text manually identified by a user at any given time.

16 (Fazio Decl. Ex. 5 (Mowry Reply Decl.) ¶ 26.) He further argued:

17          The plain and ordinary meaning of ‘a user interface enabling the selection
            of a detected structure’ requires the user interface to enable selection of a
18          structure, by the user, after the structure has already been detected. Pandit,
            by contrast, reverses these steps . . . [T]he plain language of claim 1 . . .
19          requires that the user be able to pick or choose a detected structure after the
            system identifies such structures for the user.
20

21 (Id. at ¶ 217; see also id. at ¶ 26 (stating ““[t]his reverses the steps disclosed in the ‘647 patent in a

22 material, and critical, way.”).) In essence, Apple and Dr. Mowry relied on the “user interface”

23 limitation of claim 1 to distinguish the prior art by asserting that detection must occur prior to user

24 selection, so that the system can present multiple detected structures to the user and allow the user

25 to select “from a set of detected structures.”

26                  2.      The accused Jelly Bean Browser application does not enable a user to
                            select from a set of detected structures
27
            There is no dispute that in the Accused Jelly Bean Browser Products a user cannot select
28

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 1 from “a set of detected structures” or a “multitude of detected structures.” Instead, like the prior

 2 art, “the user must manually find a single, yet-to-be-recognized ‘structure’” (Fazio Decl. Ex. 5

 3 (Mowry Reply Decl.) ¶ 213.)

 4

 5                       (Fazio Decl. Ex. 1 (Mowry Opening Report) ¶ 251

 6                                            ; Fazio Decl. Ex. 4 (Mowry Dep.) at 186:23-189:16,

 7 192:2-193:6, 194:16-23)                                                              ).) Simply put,

 8 there is no way to select from “a set of detected structures” because no such set exists – only one

 9 structure is detected at a time. Accordingly, the Jelly Bean Browser products cannot infringe

10 claim 1 of the ’647 Patent under Apple’s contentions.

11          While there is no dispute over the operation of the Accused Jelly Bean Browser Products,

12 Apple now appears to dispute what the patent requires. After learning about the operation of

13 Samsung’s new products, Apple now alleges that the ability to select from a “set of detected

14 structures” or a “multitude of detected structures” is not a requirement of claim 1.

15

16                                           (Fazio Decl. Ex. 4 (Mowry Dep.) at 128:2-129:16).) But

17 prior to learning of the operation of Jelly Bean Browser, Apple made multiple, unambiguous

18 representations during the PI phase that conflict with its current position. Those statements are
19 cataloged in Exhibit 7. (Fazio Decl. Ex. 7.) Samsung should be able to rely on a sworn expert

20 declaration to the Court, submitted by Apple, seeking an injunction on Samsung’s products, that

21 states selection from a set of detected structures is a requirement of the patent.

22          Thus, the Court should grant Samsung summary judgment based on Apple and

23 Dr. Mowry’s direct representations to the Court distinguishing claim 1 of the ’647 Patent from the

24 prior art. There is no dispute that a user of the Accused Jelly Bean Browser cannot select from a

25 “multitude of detected structures,”

26                                       . Those accused products do not infringe for this reason as well.
27

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 1 III.       CLAIMS 11 AND 20 OF THE ’414 PATENT ARE INVALID AS ANTICIPATED
 2            A.     ’414 Patent Background

 3            The ’414 Patent, entitled “Asynchronous Data Synchronization Amongst Devices,” relates
 4 to “systems and methods for synchronizing data between two or more data processing systems.”

 5 (Fazio Decl. Ex. 8 (’414 Patent) at 1:6-8).) Apple filed the application for the ’414 Patent on

 6 January 7, 2007. Specific embodiments disclosed in the patent synchronize data between “one or

 7 more data processing systems, such as a device, which may be a handheld computer, and a host,

 8 which may be a desktop or laptop computer.” (Id. at 7:40-44.) Apple characterized the

 9 ’414 Patent as providing “an important improvement over prior art synchronization systems”

10 where, for example, “users could not access and modify their data while it was in the process of

11 being synchronized, but instead would need to wait for the synchronization process to complete.”

12 (Dkt. 333 at 15.) Apple alleges the ’414 Patent “allow[s] a user to access data while

13 synchronization is occurring.” (Id.)

14            Samsung seeks summary judgment of invalidity on two claims: independent claim 11, and
15 dependent claim 20. Both claims are still at issue. Whether as part of the case narrowing or as a

16 concession of invalidity, Apple stopped pursuing infringement on independent claim 11 of the

17 ’414 Patent, and now only alleges infringement of dependent claim 20. (Dkt. 786.) But even after

18 dropping claim 11 from its infringement allegations, Apple continues to base its damages claim,
19 including its lost profits claim, on claim 11. Apple’s damages expert seeks extensive damages for

20 the ’414 Patent –                             – based heavily on the theory that Apple’s products
21 practice claim 11 of the ’414 Patent. (See, e.g., Fazio Decl. Ex. 15 (Velluro Opening Report)

22 ¶¶ 71, 74, 310-317, 324, 395-97, 489-92.) This claim to practice the ‘414 Patent is based solely on

23 claim 11. Apple’s technical expert asserts that claim 11 is embodied in Apple’s products (Fazio

24

25        5
         (See, e.g., Fazio Decl. Ex. 9 (Exhibit 140 to Apple’s Infringement Contentions); Fazio Decl.
26 Ex. 10 (Objections and Responses to Interrogatory No. 42); Fazio Decl. Ex. 11 (Third
   Supplemental Objections and Responses to Interrogatory No. 25); Fazio Decl. Ex. 12
27 (Supplemental Objections and Responses to Samsung’s Interrogatory No. 25); Fazio Decl. Ex. 13
   (Snoeren Opening Report) ¶¶ 525-28; Fazio Decl. Ex. 14 (Snoeren Rebuttal Report) ¶ 627.)
28

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 1 Decl. Ex. 13 (Snoeren Opening Report) ¶¶ 525-528; Fazio Decl. Ex. 14 (Snoeren Rebuttal Report)

 2 ¶¶ 627)) but does not assert Apple practices claim 20 of the ’414 Patent. (Fazio Decl. Ex. 14

 3 (Snoeren Rebuttal Report) ¶ 627.) Moreover, Apple’s attempted quantification of consumer

 4 demand turns on a survey describing claim 11 – not claim 20. (See, e.g., Fazio Decl. Ex. 16

 5 (Hauser Opening Report) ¶¶ 42-43, 74.) Tellingly, Apple refused Samsung’s request that Apple

 6 abandon any reliance on its alleged practice of claim 11 at trial. (Fazio Decl. Ex. 17 (Oct. 8, 2013

 7 Letter from A. Thakur to B. Buroker).) Even if Apple is permitted to rely on claim 11, Apple’s

 8 damages theory crumbles if claim 11 is invalid: a patentee cannot “practice” an invalid claim.6

 9 Since Apple continues to base its damages analysis on claim 11, claim 11’s validity is still highly

10 relevant to Samsung’s defense to Apple’s damages claims.7

11          B.      Windows Mobile 5.0 Anticipates Claim 11 of the ’414 Patent
12          Long before Apple filed the ’414 Patent,                                 , Microsoft

13 developed and sold Windows Mobile 5.0. (Fazio Decl. Ex. 18 (Microsoft Declaration) ¶ 29; Fazio

14 Decl. Ex. 19 (Ex. 9 (MSFT-00630-001175)).) Windows Mobile 5.0 ran on a variety of handheld

15 devices, including the HP iPaq and Palm Treo. (See, e.g., Fazio Decl. Ex. 20 (SAMNDCA630-

16 07673924); Fazio Decl. Ex. 21 (SAMNDCA630-07673928).) Windows Mobile 5.0 is prior art to

17 the ’414 Patent under 35 U.S.C. § 102(b) and § 102(g)(2).

18          Windows Mobile 5.0 synchronized personal information, such as e-mail, contacts, and
19 calendar information, between a mobile device and a Microsoft Exchange Server. (See. e.g., Fazio

20
        6
            See Prima Tek II, L.L.C. v. Polypap, S.A.R.L., 412 F.3d 1284, 1291 (Fed. Cir. 2005)
21
     (“[T]here can be no . . . infringement of invalid patent claims.”); Richdel, Inc. v. Sunspool Corp.,
22   714 F.2d 1573, 1580 (Fed. Cir. 1983) (“The claim being invalid there is nothing to be
     infringed.”).
         7
23          Samsung has also moved to preclude Apple from relying on its alleged practice of claim 11,
     or survey evidence directed to claim 11 and not claim 20, as part of Samsung’s Motion to Enforce
24   Case Narrowing Order. Samsung has further moved to preclude Apple’s damages experts from
     improperly relying on Apple’s alleged practice of claim 11, or survey evidence relating to the
25
     feature described in claim 11, as proof of damages for alleged infringement of claim 20. If either
26   of these motions are granted and Apple is entirely precluded from relying on its alleged practice of
     claim 11 and surveys regarding the alleged value of claim 11 (as opposed to the value of claim
27   20’s more narrow scope), the validity of claim 11 would no longer be relevant to Samsung’s
     damages defenses and would not need to be decided by the Court at this time.
28

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 1 Decl. Ex. 22 (SAMNDCA630-00948288) at 1; Fazio Decl. Ex. 23 (Hall Dep.) at 55:3-20.) For

 2 example, Windows Mobile 5.0 performed background synchronization through its support for

 3 ActiveSync-based synchronization with an Exchange server. (See, e.g., Fazio Decl. Ex. 22

 4 (SAMNDCA630-00948288) at 5.) As explained in Microsoft’s “TechNet” article regarding

 5 Exchange ActiveSync and Exchange, “[a]n event is generated in a user’s Exchange account when

 6 a new message arrives. This event causes a Short Message Service (SMS) notification to be sent

 7 to the user’s device. The device synchronizes in the background. The user data is updated to the

 8 most current information, with no intervention on the part of the user.” (Id. (emphasis added).)

 9 Indeed,                                                                                (Fazio Decl. Ex.

10 23 (Hall Dep.) at 12:14-21, 13:3-7, 13:25-14:21, 26:4-16, 55:19-20).)

11

12            (Fazio Decl. Ex. 18 (Microsoft Declaration) ¶¶ 10-11), Windows Mobile 5.0

13 implemented synchronization functionality using the same techniques discussed in the

14 ’414 Patent. Windows Mobile 5.0 contains multiple user applications for handling data, including

15 mail, calendar, and contacts applications, each of which has a user interface, is responsive to user

16 input through its graphical user interface, and relies on a thread for its user interface operations.

17 (See Fazio Decl. Ex. 24 (Chase Decl.) ¶¶ 31-33, 45-55.) Windows Mobile 5.0 also contains

18 instructions to enable a user to access and edit underlying locally stored “structured data in a first
19 store associated with a first database,” such as mail, calendar, or contacts data. (See id. ¶¶ 36-37,

20 56-69.) Windows Mobile 5.0 also contains instructions to execute a “synchronization processing

21 thread” in the

22               (See id. ¶¶ 35, 70-94.) Windows Mobile 5.0 also contains synchronization software

23 components that are configured to synchronize the structured data from the first local database

24 with the structured data in a second Exchange Server database. (See id. ¶¶ 95-104.) Windows

25 Mobile 5.0 contains not just one, but multiple synchronization software components structured to

26 synchronize data of a different class, such as mail or contacts data. (See id. ¶ 106.) For these
27 reasons and as described in the attached declaration of Samsung’s technical expert for the

28 ’414 Patent, Dr. Jeffrey Chase, Windows Mobile 5.0 meets each limitation of claim 11 of the

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 1 ’414 Patent. (See id. ¶¶ 42-104.)

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     (Fazio Decl. Ex. 25 (Snoeren Dep.) at 243:2-15 (objection omitted).)
12
            Having failed to rebut Dr. Chase’s analysis, or identify any genuine issue of material fact
13
     to rebut Dr. Chase’s showing that Windows Mobile 5.0 discloses each limitation of claim 11, there
14
     is no dispute – Windows Mobile 5.0 anticipates claim 11 and summary judgment should be
15
     entered. Implicit Networks Inc. v. F5 Networks Inc., Nos. C10-3365 SI, C10-4234 SI, 2013 WL
16
     1007250, at *7 (N.D. Cal. Mar. 13, 2013) (granting summary judgment of invalidity based on
17
     evidence not contradicted by plaintiff’s expert).
18
            C.      Windows Mobile 5.0 Anticipates Claim 20 of the ’414 Patent
19
            Claim 20 depends on claim 11, and adds a single limitation: “the synchronization software
20
     component is configured to synchronize structured data of a first data class and other
21
     synchronization software components are configured to synchronize structured data of other
22
     corresponding data classes.” (Fazio Decl. Ex. 8 (’414 Patent) at 34:18-22).) Windows Mobile 5.0
23
     also anticipates this claim.
24

25
     (Fazio Decl. Ex. 24 (Chase Decl.) ¶¶ 106.)
26
27

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 1

 2                          (Id. ¶¶ 87-88, 106-109.)

 3          Again, Apple does not dispute any of these facts. Instead, Apple’s rebuttal depends

 4 entirely on new claim constructions appearing for the first time in Dr. Snoeren’s expert reports.

 5 Dr. Snoeren contends that “Windows Mobile with ActiveSync does not disclose the plug-in model

 6 architecture required by claim 20.” (Fazio Decl. Ex. 14 (Snoeren Rebuttal Report) ¶ 551

 7 (emphasis added).) To that end, Dr. Snoeren opines that claim 20 requires “a plug-in model

 8 architecture” in which all software components “plug-in” to a “framework” that is “consistent” for

 9 all synchronization requests. (Fazio Decl. Ex. 13 (Snoeren Opening Report) ¶ 408; Fazio Decl.

10 Ex. 14 (Snoeren Rebuttal Report) ¶¶ 428, 572.)8

11          These requirements appear nowhere in claim 20 – they are cut from whole cloth. Apple

12 tries to transform claim 20, which merely discloses the use of multiple “components” for

13 synchronization, into an “architecture” of “plug-in” components that form a “consistent

14 synchronization framework,” where at least three synchronization software components each

15 “cause the generation of” a separate “synchronization processing thread.” Apple’s new

16 constructions are improper and should not be considered. Even if they are considered, they are

17 insufficient to create a genuine issue of material fact and summary judgment should be granted.9

18 Moreover, they are clearly meritless. The ’414 Patent does not limits claim 20 to a “consistent” or
19 “extensible” architecture where only “plug-in” components can be used to synchronize data

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          Telemac Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316, 1329 (Fed. Cir. 2001)
27 (“Broad conclusory statements offered by . . . experts are not evidence and are not sufficient to
   establish a genuine issue of material fact.”).
28

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 1 classes. The language of claim 20 certainly never limits itself to such an architecture.10 Apple’s

 2 new claim constructions are a transparent effort to import limitations from one embodiment into

 3 the claims. If Apple’s belated claim constructions are rejected, it has no validity defense on claim

 4 20.

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11                                               (See Fazio Decl. Ex. 24 (Chase Decl.) ¶¶ 87-88, Fazio

12 Decl. Ex. 24 (Chase Decl.) Ex. 2 at 7, 12, 18.) If claim 20 somehow required each component to

13 “plug in” to a “consistent” “framework,” these requirements are met by Windows Mobile 5.0, and

14 Apple presents no argument to the contrary.

15            Nor does claim 20 specify what threads each “synchronization software component” must

16 run on. The specification of the ’414 Patent describes the relationship between synchronization

17 software components and synchronization processing threads only to define synchronization

18 processing threads as “synchronization tasks performed by one or more synchronization software
19 components.” (Fazio Decl. Ex. 8 (’414 Patent) at 25:3-5.) Consistent with the description of the

20 ’414 Patent,

21

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24       10
           See, e.g., Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906 (Fed. Cir. 2004) (claims
   should not be limited to an embodiment); see also Dkt. 447 (noting that “[f]or the specification to
25
   limit the scope of a claim, there must be a clear disavowal of the claim scope,” and that where
26 specification described characteristics of a particular embodiment, there was no disavowal if “the
   specification nowhere expressly limits the claims to this one embodiment of the invention”)
27 (emphasis added) (citing Omega Eng’g, Inc., v. Raytek Corp., 334 F.3d 1314, 1324 (Fed. Cir.
   2003).
28

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 4
     (Fazio Decl. Ex. 28 (Freedman Dep.) at 129:6-15 (emphasis added).) Dr. Snoeren applied this
 5
     same interpretation in his infringement report: threads were “provided by” a component if the
 6
     component performed its tasks in that thread.
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21      11
             In addition, Dr. Snoeren contends that each of the three synchronization software
22   components required by claim 20 must “provide its own synchronization processing thread”
     (Fazio Decl. Ex. 14 (Snoeren Rebuttal Report ¶ 493), but only claim 11 – not claim 20 – mentions
23   a “synchronization processing thread” or discusses how that thread is “provided” (Fazio Decl. Ex.
     8 (’414 Patent) at 33:36-54, 34:18-22), and only one of the three synchronization components in
24   claim 20 – namely, the component “configured to synchronize structured data of a first data class,”
     which is the same “synchronization software component” referenced in claim 11 – is described by
25
     the claim as “providing” anything. (Id. at 33:36-54.) Nothing in the claim requires the “other
26   synchronization software components” to run on any particular thread – much less that each
     component run on its own “synchronization processing thread” or that each component “provide”
27   its own thread. (Id. at 33:36-54, 34:18-22.) And nothing in the specification clearly limits the
     claim language to one particular embodiment – indeed, there is no such embodiment.
28

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10          Because Apple’s newly invented, unsupportable claim constructions are its only basis to

11 assert claim 20 is valid over Windows Mobile, summary judgment of invalidity is appropriate.

12 See OptimumPath, LLC v. Belkin Intern., Inc., No. 09-1398, 2011 WL 1399257, at *10 (N.D. Cal.

13 Apr. 12, 2011) (granting summary judgment of invalidity, finding that plaintiff’s sole argument

14 opposing anticipation failed due to the court’s claim construction).

15 IV.      CLAIMS 24 AND 25 OF THE ’959 PATENT ARE INVALID AS INDEFINITE
16          To be valid, claims must “particularly point[] out and distinctly claim[] the subject matter

17 which the inventor or a joint inventor regards as the invention.” 35 U.S.C. § 112(b). Claims are

18 indefinite “where an accused infringer shows by clear and convincing evidence that a skilled
19 artisan could not discern the boundaries of the claim based on the claim language, the

20 specification, and the prosecution history, as well as her knowledge of the relevant art area.”

21 Halliburton Energy Servs. v. M-I LLC, 514 F.3d 1244, 1249-50 (Fed. Cir. 2008). Phrases with

22 subjective meanings fail this test; the patent must provide some objective standard of measuring

23 its scope. See Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342, 1351 (Fed. Cir. 2005).

24          There is no objective way to determine the scope of claims 24 and 25 of the ’959 Patent.

25 The term “heuristic” appears in the following limitations of those claims:

26          provide said information identifier to a plurality of heuristics to locate
               information in the plurality of locations which include the Internet and
27             local storage media (claim 24);
28          determine at least one candidate item of information based upon the

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 1              plurality of heuristics (claim 24)

 2           wherein the information identifier is applied separately to each heuristic.
                (claim 25)
 3 (Fazio Decl. Ex. 30 (’959 Patent) at 9:16-30.)

 4           During the preliminary injunction phase of this case, the Court noted that “Apple has been
 5 less than clear as to how, exactly, it defines ‘heuristic,’” and “[t]he specification is not particularly

 6 illuminating” with respect to the term’s meaning. (Dkt. 221 at 15, 16.) These problems still exist

 7 today for the ’959 Patent specification. As the Court already has found: “Although the

 8 specification refers frequently to the use of ‘heuristics’ to conduct the searches within each

 9 module’s search area, the specification does not provide further explanation as to how ‘heuristics.’

10 is defined.” (Dkt. 221 at 17.) The specification thus does not define the term “heuristic” – and

11 while both Apple and Samsung agree that a “heuristic” in the context of claims 24 and 25 of the

12 ’959 Patent would cover at least “a rule of thumb and does not consist solely of constraint

13 satisfaction parameters” (Fazio Decl. Ex. 13 (Snoeren Opening Report) ¶ 101), the record shows

14 that no one—not Apple, not experts, not inventors, not Apple employees, not third-party fact

15 witnesses—can actually translate those words into a meaningfully precise claim scope with clear,

16 objective boundaries.

17           On these facts, claims 24 and 25 are invalid: “Even if a claim term’s definition can be
18 reduced to words, the claim is still indefinite if a person of ordinary skill in the art cannot translate
19 the definition into meaningfully precise claim scope.” Halliburton Energy Servs., 514 F.3d at 1251

20 (Fed. Cir. 2008).12 Indefiniteness is established here because “clear and convincing evidence

21 [shows] that one of ordinary skill in the relevant art could not discern the boundaries of the claim

22

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        12
           “[A] construed claim can be indefinite if the construction remains insolubly ambiguous . .
24 .” Biosig Instruments, Inc. v. Nautilus, Inc., 715 F.3d 891, 898 (Fed. Cir. 2013) (quoting Star
   Scientific, Inc. v. R.J. Reynolds Tobacco Co., 655 F.3d 1364, 1373 (Fed. Cir. 2011)); see also
25
   Exxon Research & Eng’g Co. v. United States, 265 F.3d 1371, 1377-79 (Fed. Cir. 2001)
26 (accepting the district court’s claim construction and separately undertaking an analysis of the
   claims at issue to determine indefiniteness); Union Pac. Res. Co. v. Chesapeake Energy Corp.,
27 236 F.3d 684, 689-90, 692 (Fed. Cir. 2001) (same); Minn. Min. and Mfg. Co. v. Johnson &
   Johnson Orthopaedics, Inc., 976 F.2d 1559, 1567 (Fed. Cir. 1992) (same).
28

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 1 based on the claim language, the specification, the prosecution history, and the knowledge in the

 2 relevant art.” Haemonetics Corp. v. Baxter Healthcare Corp., 607 F.3d 776, 783 (Fed. Cir. 2010).

 3          The intrinsic record of the ’959 Patent does not explain to one of ordinary skill how to

 4 identify a ‘heuristic’ for purposes of claim 24. Apple’s own expert could not point to a single

 5 heuristic in the ’959 Patent specification or prosecution history as a clear disclosure of a heuristic.

 6 (Fazio Decl. Ex. 14 (Snoeren Rebuttal Report) ¶¶ 348-364.) Instead, Apple’s expert embraced the

 7 lack of disclosure within the ’959 specification, stating that “the specification need not give

 8 specific examples of how to implement a heuristic algorithm for the person of ordinary skill in the

 9 art to be able to apply the Court’s claim interpretation. (Fazio Decl. Ex. 14 (Snoeren Rebuttal

10 Report) ¶ 363 (emphasis added).)

11          This is the rare case when the patentee itself concedes that the specification provides no

12 examples of “heuristics” as that term is used in the claims. Nor does Apple’s expert or Apple

13 contend that the prosecution history of the ’959 Patent provides some objective measure. Instead,

14 a person of ordinary skill is left to their own subjective ends to figure out whether a given

15 algorithm falls within the scope of the claims.

16          This is consistent with Apple’s discovery responses, where Apple claimed it could not

17 determine if the search techniques disclosed in the ’959 Patent specification were “heuristics” as

18 that term is used in the claims of the ’959 Patent. For example, when asked to admit that
19 “locat[ing] items of information on the basis of names of files” is a “heuristic” Apple responded:

20          Apple responds that “locat[ing] items of information on the basis of names
            of files” can be what a “heuristic” does, but there may be certain
21          circumstances in which “locat[ing] items of information on the basis of
            names of files” is not what a “heuristic” does. In view of the foregoing, and
22
            because this request lacks any application to a specific set of facts, Apple
23          denies the request.

24 (Fazio Decl. Ex. 32 (Apple’s Supplemental Responses to Samsung’s First Requests for

25 Admission) at 3-4.) Apple gave the same response for other search techniques described in the

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 1 ’959 Patent specification. (Id. at 3-9.)13 The ’959 Patent specification, while mentioning the word

 2 “heuristic” numerous times, does not explain what factors a person of skill should consider when

 3 determining whether a given search technique actually is “heuristic” or not for purposes of

 4 claims 24 and 25, rendering the term indefinite. Datamize, 417 F.3d at 1352.

 5           The factual record confirms indefiniteness in spades. The named inventors of the ’959

 6 Patent, for example,

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14 (Fazio Decl. Ex. 33 (Mortensen Dep.) at 187:2-5, 187:11-13, 188:4-9; Fazio Decl. Ex. 34
                                                  14
15 (Arrouye Tr.) at 47:25-48:3, 50:4-8, 50:10-16.)

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23            These include “locat[ing] items of information on the basis of contents of files,” “locat[ing]
     items of information on the basis of most recently accessed items,” “locat[ing] items of
24   information that are stored locally on the computer system,” “locat[ing] items of information that
     are stored on remote computer systems,” and “locat[ing] Internet web pages.” (Fazio Decl. Ex. 30
25
     (’959 Patent) at 8:29-47.)
         14
26            The ‘959 patent co-inventors, Yan Arrouye and Keith Mortensen, are persons of ordinary
     skill in the art for purposes of the ‘959 patent. (Fazio Decl. Ex. 33 (Mortensen Dep.) at 7:8-65:11
27   (describing education and work history as software engineer); Fazio Decl. Ex. 31 (Arrouye Dep.)
     at 14:7-21:23, 27:3-39:20 (describing education and work history as software engineer).)
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            Apple’s technical expert similarly could not decide whether a
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                                                                                But when asked
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     whether these same search techniques were “heuristics” at his deposition he could not say one
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     way or another:
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                             This type of analysis is the exact type that courts have consistently found
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                       (Fazio Decl. Ex. 35 (Arrouye Errata) at 1.)
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 1 indefinite. See Halliburton, 514 F.3d at 1255 (“When a proposed construction requires that an

 2 artisan make a separate infringement determination for every set of circumstances in which the

 3 composition may be used, and such determinations are likely to result in differing outcomes

 4 (sometimes infringing and sometimes not), that construction is likely to be indefinite.”).

 5           Other persons of ordinary skill further confirmed this insoluble ambiguity. Nearly every

 6 person of skill deposed in this case had a different understanding of “heuristic” and regularly

 7 could not determine whether a given algorithm or software program used a heuristic or not.16

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17           Case after case compels an indefiniteness finding on these facts. In Datamize, the Federal

18 Circuit held the term “aesthetically pleasing” failed to provide a “workable objective standard”
19 because “it is completely dependent on a person’s subjective opinion.” Datamize, 417 F.3d at

20 1350. As the Court explained, “[t]he scope of claim language cannot depend solely on the

21 unrestrained, subjective opinion of a particular individual purportedly practicing the invention.”

22 Id. In Ernie Ball, the Federal Circuit recently held a claim indefinite where the term “a line that

23 . . . does not form a sinusoidal arc” was dependent on subjective perception. Ernie Ball, Inc. v.

24 Earvana, LLC, 502 Fed. Appx. 971, 980 (Fed. Cir. 2013). Discerning infringement relied “on

25 which among a limitless number of possible lines extending through those intonation portions one

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27            Additional testimony from former Apple employees and persons of ordinary skill is
     attached as Exhibit 29 to the Fazio Declaration. (Fazio Decl. Ex. 29.)
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 1 has in mind at any given time.” Id. Apple’s attempt to use the ambiguity of the word “heuristic”

 2 to seek a monopoly on some unknown set of search techniques should not be rewarded. The

 3 Court should hold that claims 24 and 25 are invalid under 35 U.S.C. § 112.

 4 V.       CLAIM 13 OF THE ’596 PATENT HAS A PRIORITY DATE OF NOVEMBER 9,
            2004
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 6          The Court should grant summary judgment that claim 13 of Samsung’s ’596 Patent has a

 7 priority date of November 9, 2004. This is a question of law that should be decided by the Court.

 8 See E.I. du Pont de Nemours & Co. v. MacDermid Printing Solutions, L.L.C., 525 F.3d 1353,

 9 1359 (Fed. Cir. 2008) (“Determination of the priority date . . . is purely a question of law if the

10 facts underlying that determination are undisputed.”).

11          Patent applications may claim priority to earlier filed applications under 35 U.S.C. § 120

12 when the requirements of 35 U.S.C. § 112 are met. Priority is given when no “new matter” is

13 claimed. Star Scientific, Inc., 655 F.3d at 1371-72. Apple’s arguments against the priority date of

14 the ’596 Patent are based entirely on an improper claim construction of the claim term “DDI

15 field.” When “DDI field” is properly construed, there is no factual issue that claim 13 is disclosed

16 in the priority application filed on November 9, 2004 (“the priority application”). Apple’s claim

17 construction is at odds with the intrinsic record and the doctrine of claim differentiation. If this

18 claim construction issue is not resolved by the Court, it will only confuse the jury and lead to
19 reversible error. O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1360 (Fed.

20 Cir. 2008) (“When the parties raise an actual dispute regarding the proper scope of these claims,

21 the court, not the jury, must resolve that dispute.”). Apple should not be permitted to present

22 invalidity references to the jury that are not even prior art to the ’596 Patent. Three of Apple’s

23 prior art combinations depend on the wrong priority date.

24          A.      The “DDI Field” is a Logical Identifier Representing the First PDU

25          Claim 13 states a “first header part corresponding to the first PDU by using a data

26 description indicator (DDI) field representing the first PDU.” (Fazio Decl. Ex. 37 (’596 Patent).)
27 The claim language is clear: (1) a DDI field is a header part and (2) this header part represents the

28 first PDU. The ’596 specification discloses a header part corresponding to a first MAC-es PDU

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 1 that is configured with a DDI field, which is a logical identifier. (Id. at 10:61-63 (“DDI, which is

 2 a logical identifier”), 11:15-17 (“MAC-e header part #1 805 corresponding to a first MAC-es PDU

 3 850 is configured with a DDI field 820”).) As defined by claim 13 and supported by the ’596

 4 specification, a DDI field is a header part that is a logical identifier representing the first PDU.

 5           Apple’s entire theory on priority hinges on an improper construction of “DDI field.”

 6 Apple’s construction ignores the clear definition in the ’596 Patent and violates the canon of claim

 7 differentiation. Specifically, Apple’s construction narrows the definition of “DDI field” in

 8 independent claim 13 to the definition of “DDI field” set forth in dependent claim 18.

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17                                                   Apple’s construction does not allow for the “DDI
18 field” in claim 13 to be construed anymore broadly than the definition in dependent claim 18.
19           Black letter law dictates that Apple’s construction is wrong. See Aspex Eyewear, Inc. v.
20 Marchon Eyewear, Inc., 672 F.3d 1335, 1348 (Fed. Cir. 2012) (finding patentee’s claim

21 differentiation argument dispositive because accused infringer’s construction rendered a

22 dependent claim’s limitation superfluous); see also Am. Med. Sys., Inc. v. Biolitec, Inc., 618 F.3d

23 1354, 1360-61 (Fed. Cir. 2010) (holding that independent claims were not limited to particular

24 wavelengths because dependent claims recite specific wavelength ranges) (citing Phillips v. AWH

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26      17
          Claim 1 is a method claim and claim 13 is an apparatus claim. Claim 1 and claim 13 set
27 forth the same limitations. (Fazio Decl. Ex. 39 (Fuja Opening Rept.) ¶ 703.) Similarly, claim 6,
   which depends from claim 1, and claim 18, which depends from claim 13, add the same limitation.
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 1 Corp., 415 F.3d 1303, 1315 (Fed. Cir. 2005) (en banc)); The Saunders Group, Inc. v. Comfortrac,

 2 Inc., 492 F.3d 1326, 1331-32 (Fed. Cir. 2007) (holding that the district court incorrectly construed

 3 the asserted independent claim to a specific limitation when that limitation was stated in other

 4 dependent claims). Under the doctrine of claim differentiation, the DDI field in claim 13 is

 5 broader than the DDI field in claim 18. The DDI field in claim 13 does not have to specify the

 6 three attributes in claim 18. Instead it is simply a logical identifier representing the first PDU.

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                                                                          However, courts have
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     regularly recognized that even when the specification discloses only one embodiment, it is
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     improper to limit the claims to that embodiment when the specification did not indicate that the
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     disclosed embodiment was the only way to practice the invention. See The Saunders Group, 492
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     F.3d at 1331-32; see also Dkt. No. 447 at 3, 7, 17 (finding that “the language of the claims should
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 1 not be limited to only the preferred embodiment”).

 2          B.      The Priority Application Discloses a Header Part that is a Logical Identifier
                    Representing the First PDU
 3
            One only needs to compare claim 1 in the priority application to claim 13 of the ’596
 4
     Patent to see that the priority application discloses a header part that represents the first PDU.
 5
     (Fazio Decl. Ex. 40 (priority application) at 19.) In both claims, there is “a header part
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     corresponding to the protocol data unit [PDU].” The only thing that claim 13 adds are the words:
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     “by using a data description indicator (DDI) field representing the first PDU.” As set forth below,
 8
     the specification clearly discloses this additional language.
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                First, the specification discloses a header part representing a first PDU. (Id. at 13 (“kth
10               header part 530 corresponds to a kth MAC-es PDU”).)
11
                Second, the specification discloses that the header part includes a mutiplexing
12               identifier. (Id. (“[e]ach header part 520 or 530 includes a mutiplexing identifier 522 or
                 532”).).
13
                Finally, the multiplexing identifier may be a logical identifier. (Id. (“[t]he
14               multiplexing identifier 532 may be a logical identifier”).)
15
                Thus, the specification discloses a header part that is a logical identifier representing
16               the first PDU.

17          The fact that the ’596 Patent refers to the header part as a “DDI field” and the priority

18 application refers to the same header part as a “multiplexing identifier” is immaterial. See Star
19 Scientific, 655 F.3d at 1371-1372 (reversing the district court’s priority findings because the

20 district court improperly narrowed the scope of the provisional application based on an added

21 example in the later-filed non-provisional application). Both the ’596 Patent and the priority

22 application use different words to describe the same thing (i.e., a logical identifier). When “DDI

23 field” is properly construed to mean a “logical identifier representing the first PDU,” there can be

24 no factual dispute that the claimed “DDI field” is disclosed in the priority application.

25                                              CONCLUSION

26          For the foregoing reasons, Samsung respectfully asks the Court to grant its Motion for

27 Summary Judgment on all claims described above.

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 1                            ATTESTATION OF E-FILED SIGNATURE
 2          I, Patrick D. Curran, am the ECF user whose ID and password are being used to file

 3 Samsung’s Notice of Motion and Motion for Summary Judgment. In compliance with General

 4 Order 45.X.B, I hereby attest that Victoria F. Maroulis has concurred in this filing.

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 6 Dated: October 10, 2013                           /s/ Patrick D. Curran
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